     Case 2:91-cr-80936-PJD ECF No. 1062, PageID.788 Filed 12/19/05 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                        Civil No. 05-CV-71898-DT
          Plaintiff/Appellee,                           Criminal No. 2:91-cr-80936
                                                        Honorable Patrick J. Duggan
v.

BRETT LANG,

          Defendant/Appellant.
                                         /


             ORDER GRANTING CERTIFICATE OF APPEALABILITY

                         At a session of said Court, held in the U.S.
                           District Courthouse, Eastern District
                           of Michigan, on December 19, 2005.

                 PRESENT: THE HONORABLE PATRICK J. DUGGAN
                          U.S. DISTRICT COURT JUDGE

       On September 20, 2005, this Court issued an Opinion and Order dismissing Petitioner

Brett Lang’s 28 U.S.C. § 2255 petition. On November 7, 2005, this Court issued an Order

denying Petitioner’s Motion for Reconsideration. On December 5, 2005, Petitioner filed a

Motion for Certificate of Appealability.

       In general, 28 U.S.C. § 2253 governs appeals of habeas corpus proceedings. Section

2253(a) provides that “[i]n a habeas corpus proceeding . . . before a district judge, the final

order shall be subject to review, on appeal, by the court of appeals for the circuit in which

the proceeding is held.” However, unless a certificate of appealability is issued, an appeal

may not be taken to the court of appeals from the final order in a habeas corpus proceeding.
  Case 2:91-cr-80936-PJD ECF No. 1062, PageID.789 Filed 12/19/05 Page 2 of 3




     “A certificate of appealability may issue under paragraph (1) only if the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2);

see also Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997). “Where a

district court has rejected a petitioner’s constitutional claims on the merits, the showing

required to satisfy § 2253(c) is straightforward: The petitioner must demonstrate that

reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000).

     The Court continues to believe that Petitioner’s resentencing on June 13, 2001, was

constitutional in light of the Supreme Court’s decisions at the time Petitioner was sentenced,

namely the Supreme Court’s decision in Apprendi v. New Jersey, 530 U.S. 466, 120 S. Ct.

2348 (2000). Nevertheless, the Court does not believe that Petitioner should be denied the

opportunity to seek appellate review of the following issue presented in his § 2255 petition:

Whether Petitioner should be allowed to argue that the Supreme Court’s holdings in Blakely

v. Washington, 124 S. Ct. 2531 (2004) and United States v. Booker, 125 S. Ct. 738 (2005),

constitute an intervening change in the law pursuant to Davis v. United States, 417 U.S. 333,

94 S. Ct. 2298 (1974), where, at his resentencing, Petitioner argued that:

(1) the utilization of the drug quantities, determined by a mere preponderance, violated

Apprendi; and

(2) the stacking provision of the sentencing guidelines, U.S.S.G. § 5G1.2(d), violated

Apprendi because it resulted in a sentence that was beyond the statutory maximum, based

on factors not determined by the jury or admitted to by Petitioner.

                                              2
  Case 2:91-cr-80936-PJD ECF No. 1062, PageID.790 Filed 12/19/05 Page 3 of 3




       Accordingly, the Court concludes that Petitioner has shown that “jurists of reason

would find it debatable” whether the district court was correct in dismissing Petitioner’s

§ 2255 petition.

       Therefore,

       IT IS ORDERED that Petitioner’s motion for a certificate of appealability is

GRANTED.



                                                 s/PATRICK J. DUGGAN
                                                 UNITED STATES DISTRICT JUDGE

Copies to:

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